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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE,: Civil Action No.:
a District of Columbia organization; and }

COMPUTER & COMMUNICATIONS :

INDUSTRY ASSOCIATION d/b/a !

CCIA, a Virginia corporation,

Plaintiffs,
V.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of
the State of Florida; JONI ALEXIS
POITIER, in her official capacity as
Commissioner of the Florida Elections
Commission; JASON TODD ALLEN, in !
his official capacity as Commissioner of |
the Florida Elections Commission;
JOHN MARTIN HAYES, in his official :
capacity as Commissioner of the Florida :
Elections Commission; KYMBERLEE !
CURRY SMITH, in her official capacity |
as Commissioner of the Florida
Elections Commission; BARBRA
STERN, in her official capacity as
Commissioner of the Florida Elections
Commission; and PATRICK
GILLESPIE, in his official capacity as
Deputy Secretary of Business Operations :
of the Florida Department of
Management Services.

Defendants.

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DECLARATION OF TECHNOLOGY NETWORK
IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
INJUNCTION

I, Servando Esparza, declare as follows:

Li I am the Executive Director of Texas and the Southeast at TechNet. As
TechNet’s executive director for Texas and the Southeast, I develop and manage
TechNet operations in the Southeast region of the United States, coordinating with
TechNet members, TechNet’s vice president of state policy and government
relations, and other TechNet staff. I work closely, in a bipartisan fashion, with state
legislators and their senior staff, policymakers in the executive branch of state
governments and at state regulatory bodies, and TechNet members to lobby and
advocate on behalf of TechNet’s agenda before state legislatures.

2. Technology Network (dba TechNet) is the national, bipartisan network
of technology CEOs and senior executives that promotes the growth of the
innovation economy by advocating a targeted policy agenda at the federal and 50-
state level. TechNet’s diverse membership includes dynamic American businesses
ranging from startups to the most iconic companies on the planet and represents
more than three and a half million employees and countless customers in the fields
of information technology, e-commerce, the sharing and gig economies, advanced
energy, cybersecurity, venture capital, and finance. TechNet is a 501(C)(6) trade

association based in Washington, DC. TechNet represents its members at the state

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and federal levels of government by advocating for or against legislation that affects
its members.

3. TechNet’s work is guided by our federal and state policy principles,
which cover a broad set of policy issues. At the state level, these include privacy and
security, energy, education and workforce development, financial technology,
diversity, and inclusion, new technologies and the future of work, automated
vehicles, procurement, smart infrastructure, and taxation. TechNet’s policy
principles are decided by TechNet members on an annual basis and outlined on
TechNet’s website'. TechNet represents more than 80 companies including
Facebook, Google, Amazon, eBay, Apple, AT&T, DoorDash, Dell, HP, Lyft, Uber,
and many others. Social media platforms as defined in S.B. 7072, 2021 Leg. (Fla.
2021) (“the Act”) would include several TechNet members including Facebook,
Google, and Amazon (“affected TechNet members’).

4. Social media platforms understand that they have an obligation to
remove objectionable content, otherwise their users will be subjected to dangers like
images of child endangerment, financial scams, spam, and other harmful links.
Companies take this responsibility seriously, removing harmful content in an
unbiased manner while keeping their services open to a broad range of ideas. In the

overwhelming number of cases, removal of offensive content is accomplished as

' See www.technet.org.
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intended. However, the sheer volume of content — hundreds of millions of posts per
day — ensures that both artificial intelligence and human reviewers at companies
cannot get it right 100 percent of the time. Billions of transactions, after all, will
inevitably lead to errors. The Act will allow users to sue social media platforms
merely for enforcing their content policies — standards that are laid out in detail on
the platforms’ websites.

5. | The Act perversely creates an incentive for affected TechNet members
to not prohibit and remove any objectionable content on their social media platforms
in order to avoid being accused of violating F.S. § 501.2041 (h)(2)(d) and being sued
by a user. Florida Statutes § 501.2041 (h)(2)(d) would prohibit affected TechNet
members from taking any moderation action (which the Act includes in broadly
defined categories named “censor” or “shadow ban”) against a user’s content or
material or “deplatforming” a user from the social media platform except if the
material is “obscene” as defined by F.S. §847.001. Content including threatening or
intimidating messages, conspiracy theories, anti-vaccine misinformation, Holocaust
denial content and content promoting white supremacy do not fall under the
definition of obscene and thus could not be without violating the Act. This would
cause real-world, irreversible harm in Florida’s communities and beyond.

6. Florida Statutes §106.072 (d)(2) prohibits affected TechNet members

from deplatforming a candidate for state office, therefore providing preferential
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treatment only for candidates for office even if a candidate blatantly violates the
platform’s terms of service or posting guidelines. The Act would prevent social
media companies from removing content by candidates even if that content was
obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise
objectionable. For instance, a candidate for office in Florida could post conspiracy
theories and promote racist content that blatantly violate affected TechNet member’s
content guidelines, however the Act prevents an affected TechNet member from
either removing content from that candidate or removing the candidate from the
platform.

7. Content moderation is at the core of the business models for social
media platforms because it is critical for their business that the platforms are safe
and family- and workplace-friendly. If affected TechNet members are unable to
maintain a family- and workplace-friendly platform, it will affect their ability to
attract advertisers who will not want to be associated with objectionable content.
Additionally, users may decide to leave the platform if objectionable content that
they report is not removed. Losing users and advertisers will have a negative
financial impact on affected TechNet members.

8. The Act runs counter to the American free speech law governing
content liability on the internet, Section 230 of the federal Communications Decency

Act (“Section 230”). Since its enactment in 1996, Section 230’s two key provisions
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have empowered online intermediaries to remove harmful content while providing
them with the immunity that commonly exists in other real world offline contexts —
for example, not holding a bookseller liable for libelous books, but rather the
individual who committed the libel. Due to Section 230, American companies have
the right to curate information on their service to meet the needs and expectations of
their customers. Section 230 has supported innovation across the internet while also
encouraging companies to be “Good Samaritans” by allowing them to “to restrict
access to or availability of material that the provider or user considers to be obscene,
lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,
whether or not such material is constitutionally protected.”

9. I declare under penalty of perjury under the laws of the United States
of America that the foregoing is true and correct. Executed this 3rd day of June,

2021 in Austin, Texas.

Servando Espdfza
Executive Director, Texas & Southeast
TechNet
